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6

7                         UNITED STATES DISTRICT COURT

8                        EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,            No.   2:15-CR-0190 GEB

11                Plaintiff,              [Amended Proposed] ORDER

12       v.                               Judge: Hon. Garland E. Burrell
                                          Time: 9:00 a.m.
13   George B. Larsen,                    November 28, 2017

14                Defendant.

15

16   To: UNITED STATES MARSHAL SERVICE, SACRAMENTO, CALIFORNIA:

17       This is to authorize and direct you to furnish defendant

18   George B. Larsen with transportation and subsistence from the

19   Portsmouth, New Hampshire area to Sacramento, California on

20   November 26, 2017 and from Sacramento, California to New

21   Hampshire on December 15, 2017 or as soon thereafter as possible.

22       Mr. Larsen is indigent and financially unable to pay his

23   travel expenses to and from Sacramento, California. This request

24   is authorized pursuant to 18 U.S.C. § 4285.

25       IT IS SO ORDERED.

26       Dated:    November 15, 2017

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